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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

TONY K. MCDONALD, JOSHUA B.                   §
HAMMER, AND MARK S. PULLIAM,                  §
                PLAINTIFFS,                   §
                                              §
V.                                            §      CAUSE NO. 1:1 9-CV-2 1 9-LY
                                              §
JOE K. LONGLEY, ET AL.,                       §
                   DEFENDANTS.                §


                                             ORDER
       Before the court are Defendants' Opposed Emergency Motion for Extension of Time to File

Responses to Plaintiffs' Motion for Preliminary Injunction and Motion for Partial Summary

Judgment on Liability filed March 26, 2019 (Doc. #14) and Plaintiffs' Response to Defendants'

Emergency Motion for Extension of Time to File Response to Plaintiffs' Motion for Preliminary

Injunction and Motion for Partial Summary Judgment filed March 29, 2019 (Doe. #21). Having

considered the motion and response, the court is of the opinion that the motion should be granted.

Plaintiffs' constitutional challenge to compelled association with the State Bar of Texas' long-

standing administration procedures and policies warrants full and fair briefing by all parties that

outweighs Plaintiffs' desire for the court to expeditiously address their alleged ongoing First

Amendment harms.

       IT IS   THEREFORE ORDERED that Defendants' Opposed Emergency Motion for

Extension of Time to File Responses to Plaintiffs' Motion for Preliminary Injunction and Motion

for Partial Summary Judgment on Liability filed March 26, 2019 (Doe. #14) is      GRANTED AS
FOLLOWS: Defendants' response to Plaintiffs' Motion for Preliminary Injunction (Doc. #5) and
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Plaintiffs' Motion for Partial Summary Judgment (Doe. #6) shall be filed with the court on or

before May 13, 2019.

       SIGNED this               day of March, 2019.




                                               TED STATES DISTRICT JUDGE




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